                                 Case 1:18-cv-00236-DMT-ARS Document 276 Filed 09/27/23 Page 1 of 2



                                                  Bakke
                                                  Grinolds
                                                  Wiederholt
                                                  ATTORNEYS AT LAW




                                                                              September 27, 2023

                                                                                                           Filed via CM-ECF

                                            Judge Daniel M. Traynor
                                            200 East Rosser Avenue, Suite 411
                                            P.O. Box 670
                                            Bismarck, ND 58502-0670

                                            Re:       Sophia Wilansky v. Morton County et al.,
                                                      Civil Case No: 1:18-CV-00236

                                            Dear Judge Traynor:

                                            This firm represents the County Defendants in the above-referenced action,
                                            namely Morton County, Morton County Sheriff Kyle Kirchmeier, and Morton
                                            County Deputy Jonathan R. Moll. County Defendants' Motion to Dismiss
                                            Plaint(ff's Second Amended Complaint (doc. 270) is currently pending before the
                                            Court. I am writing to correct misstatements of holdings of cases cited in
                                            Memorandum of Law in Support of County Defendants· Motion to Dismiss
                                            Plaint(ff's Second Amended Complaint (doc. 271). Specifically, on page 27 of the
                                            brief, parentheticals to Quraishi v. St. Charles County. Missouri, 986 F.3d 831,
                                            839-40 (8 th Cir. 2021) and Black Lives Matter DC v. Trump, 544 F.Supp.3d 15,
                                            48-49 (D.C. 2021) assert that the courts in those cases "determined" the use of
                                            tear gas to disperse a crowd (Quraishi) and flashbang grenades, rubber bu! lets and
                                            tear gas to disperse a crowd (Black Lives Matter) did not constitute a seizure
                                            under the Fourth Amendment because such force was not used to restrain or seize
 Randall J. Bakke''''"                      them in place. That is incorrect. Instead, the courts in each of those cases
   ,·bc11<1<orc1bgwc1tto,,H,y".com questioned whether the use of such force to disperse rather than restrain
   SCJrinolcl•;[clbCJWclltorneyc; com constitute d a seizure
 shaw n A Gr i no l d s,
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                                                  •          ·     un der the Fourt h A                       · \ tI1C O 1·1~t1cers
                                                                                      · men dment, an d determmec
 Bradley N. Wiederholt•o involved were entitled to qualified immunity as the law was not clearly
   bwiNlerholtfclbgwallorney,; coestablished as of August of 2014 (Quraishi) and June of 2020 (Black Lives
 G ~J~J~l~k~ia~q!~~:,·;"Y; com              Matter) that such force applied to disperse rather than restrain constituted a
 David R. Phillips•                         seizure under the Fourth Amendment.
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                                   Very truly yours,

                                    Isl Shawn A. Grinolds

                                    Shawn A. Grinolds

       SG
       Traynor.2
       cc:     Benjamin M. Stoll (via CM-ECF Filing Notification)
               Edward C. Barnidge (via CM-ECF Filing Notification)
               Lauren C. Regan (via CM-ECF Filing Notification)
               Jane G. Sportiello (via CM-ECF Filing Notification)
               Courtney R. Titus (via CM-ECF Filing Notification)
               Randal J. Bakke (via CM-ECF Filing Notification)
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